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                  IN THE UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                          : Crim. No. 1:16-CR-00050
                                                  :
               v.                                 :
                                                  :
EARL HALL                                         : Judge Sylvia H. Rambo

                     MEMORANDUM AND ORDER

       Before the court is Defendant Earl Hall’s motion for compassionate release.

(Doc. 426.) Mr. Hall requests that the court grant him compassionate release, or an

indicative ruling on his request, because the mother of his children is purportedly

unfit to care for them. (See id., p. 3.)

       Initially, the court does not have jurisdiction to decide the merits of Mr. Hall’s

request because Mr. Hall is currently appealing his underlying judgment of

conviction to the United States Court of Appeals for the Third Circuit. (Doc. 418.)

See United States v. Tartaglione, No. CR 15-491, 2020 WL 3969778, at *3 (E.D.

Pa. July 14, 2020) (holding that the district court lacks jurisdiction to decide a motion

for compassionate release during the pendency of the defendant’s appeal from

judgment and sentencing). Mr. Hall’s appeal from judgment places his conviction

and full sentence 1 before the Third Circuit, and granting Mr. Hall’s present motion

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  The parties have not yet filed their briefs in the Third Circuit. However, an inference can be made
that the reasonableness of this court’s sentence, or the rulings made in calculating that sentence,
are among the issues before the Third Circuit. Mr. Hall’s counsel made multiple objections during
sentencing, at least some of which were overruled, and the Third Circuit’s docket lists the “Case
Type Information” as “Sen & Cnv appeal.”



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would reduce his sentence and result in his release, thereby drastically altering the

status quo and interfering with the proceedings above. The court therefore has no

jurisdiction to decide the issue at this time.

      Mr. Hall appears to recognize that this court lacks jurisdiction and he therefore

requests an indicative ruling on his motion. Under Federal Rule of Criminal

Procedure 37(a), where a motion is filed “that the court lacks authority to grant

because of an appeal that has been docketed and is pending, the court may (1) defer

considering the motion; (2) deny the motion; or (3) state either that it would grant

the motion if the court appeals remands for the purpose or that the motion raises a

substantial issue.” The court will therefore provide an indicative ruling under 37(a):

If the Third Circuit were to remand the case for consideration of Mr. Hall’s motion,

the court would deny it without prejudice for failure to exhaust administrative

remedies.

      Under the compassionate release statute, the court may reduce a defendant’s

sentence, after considering the factors set forth in 18 U.S.C. § 3553(a), if it finds that

certain extraordinary and compelling reasons warrant such a reduction and that the

reduction is consistent with the applicable policy statements by the Sentencing

Commission. 18 U.S.C. § 3582(c)(1)(A)(i). However, Section 3582(c)(1)(A) makes

clear that the court “may not” modify or reduce a sentence upon motion of a

defendant until after he has “fully exhausted all administrative rights to appeal a



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failure of the Bureau of Prisons to bring a motion on the defendant’s behalf or the

lapse of 30 days from the receipt of such a request by the warden of the defendant’s

facility, whichever is earlier.”

      Here, there is no dispute that Mr. Hall did not previously submit a petition to

the warden requesting that the BOP move for his compassionate release. While Mr.

Hall avers that he is unable to do so because he was recently outside the Bureau of

Prison’s custody to attend a funeral, that leave lasted only for two days in late

August. (See Doc. 425.) As such, there appears to be nothing preventing Mr. Hall

from exhausting his remedies by submitting a request to the warden. Accordingly,

IT IS HEREBY ORDERED that:

   (1) To the extent that Mr. Hall requests compassionate release, his motion is
      DENIED without prejudice because the court lacks jurisdiction to decide it
      during the pendency of his appeal;

   (2) To the extent that Mr. Hall requests an indicative ruling on his request for
       compassionate release, the court would deny the motion without prejudice for
       failure to exhaust administrative remedies.
IT IS SO ORDERED.


                                             /s/ Sylvia H. Rambo
                                             SYLVIA H. RAMBO
                                             United States District Judge


Dated: September 18, 2020




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